 8:06-cr-00208-LES-TDT   Doc # 40   Filed: 10/23/06   Page 1 of 1 - Page ID # 76



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
                Plaintiff,    )                   8:06CR208
                              )
          v.                  )
                              )
ANTONIO GARCIA,               )                       ORDER
                              )
                Defendant.    )
______________________________)


           IT IS ORDERED that the Rule 11 hearing is rescheduled

for:

                Monday, October 30, 2006, at 9:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.

           DATED this 23rd day of October, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
